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               IN THE UNITED STATES BANKRUPTCY COURT FOR THE
                        SOUTHERN DISTRICT OF INDIANA
                            INDIANAPOLIS DIVISION


IN RE:

HUGH LAWRENCE BROOKS                                BK Case No. 09-02012
TAMMIE SIMS-BROOKS
          Debtors.                                  Chapter 11


HUGH LAWRENCE BROOKS                                Judge CARR
TAMMIE SIMS-BROOKS
          Plaintiffs,                               Adversary Proceeding
                                                    Case No. 18-50350
vs.

CORONADO STUDENT LOAN TRUST

               Defendant.



  DEFENDANTS’, CORONADO STUDENT LOAN TRUST’S MOTION TO VACATE
                      DEFAULT JUDGMENT
         Now come Defendants, Coronado Student Loan Trust (hereinafter “Coronado”) by and

through counsel, pursuant to Federal Rule of Civil Procedure 60(b)(4) made applicable in

adversary proceedings by Federal Rule of Bankruptcy Procedure 9024, and hereby move this

court for an Order vacating the Default Judgment against Coronado. The reasons for this motion

are fully set forth in the attached memorandum in support.


                                                             Respectfully Submitted:
                                                             /S/ John Erin McCabe
                                                             John Erin McCabe
                                                             525 Vine Street, Suite 800
                                                             Cincinnati, OH 45202
                                                             Telephone: 513-723-2206
                                                             jmccabe@weltman.com
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                                MEMORANDUM IN SUPPORT

       I.      STATEMENT OF FACTS

       On December 12, 2018, Plaintiffs filed the above adversary proceeding seeking to

discharge her student loans pursuant to 11 U.S.C. § 523(a)(8). See Doc. 1. On December 12,

2018, summonses were executed on Coronado. See Doc. 3. Certificates of Service for Coronado

were filed on December 28, 2018 by Plaintiff. On January 22, 2019, amended summonses were

executed on Coronado. See Doc. 12. Amended Certificates of Service for Coronado were filed

on February 4, 2019 by Plaintiff. On March 19, 2019, a Motion for Default Judgment was filed

by Plaintiff against Coronado. See Doc. 17. This Court granted Plaintiff’s Motion for Default

Judgment on April 22, 2019. See Doc. 20.


       II.     LAW AND ARGUMENT

       Rule 60(b) of the Federal Rules of Civil Procedure states in pertinent part,


       On motion and just terms, the court may relieve a party or its legal representative
       from a final judgment, order, or proceeding for the following reasons:
       ....
       (6) any other reason that justifies relief.

       ....
Fed. R. Civ. P. 60.


       A.      Coronado seeks to vacate the Default Judgment in order enter into an
               Agreed Consent to Judgment to formally discharge the student loan(s).


        Coronado’s sole purpose in vacating the Default Judgment is to enter into an Agreed

   Consent to Judgment whereby the Plaintiff’s Hugh and Tammy Brooks and Defendant

   Coronado agree that Coronado Student Loan Trust 2018-3 PSL SLX has no objection to the
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   discharge of its student loan debts in the underlying Bankruptcy Case 09-02012-JMC.



       B. Coronado seeks to specify in the Agreed Consent to Judgment the full student
          loan trust name.


       The complete name of the Plaintiff is: Coronado Student Loan Trust 2018-3 PSL SLX.




       III.   CONCLUSION

              For the foregoing reasons Defendant Coronado Student Loan Trust respectfully

requests that this Court set aside the Default Judgment entered against Coronado Student Loan

Trust so that parties may enter into an Agreed Consent to Judgment discharging its student loans.




                                                           Respectfully Submitted:
                                                           /S/ John Erin McCabe
                                                           John Erin McCabe
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                                CERTIFICATE OF SERVICE

       The undersigned does hereby certify that a true copy of the foregoing motion was served

this 19th day of July, 2019 by regular U.S. Mail upon the following.

       Hugh Lawrence Brooks
       Tammie Sims-Brooks
       7547 Somerset Bay, #A
       Indianapolis, IN 46240
       Plaintiff



       Eric C Redman
       151 N Delaware St Ste 1106
       Indianapolis, IN 46204
       Counsel for Plaintiff


                                                    /S/ John Erin McCabe
                                                    John Erin McCabe
                                                    Weltman, Weinberg & Reis Co., L.P.A.
                                                    Attorney for Coronado Student Loan Trust
